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                                       ORDERED.


    Dated: October 11, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov


                                                 CASE NO.: 6-18-bk-02313-ABB
In re:

JUAN C. COLON PAGAN, SR. and
NILSA I. COSTALES MARRERO,

      Debtor(s).
____________________________/

                ORDER SUSTAINING DEBTORS’ OBJECTION TO CLAIM
                       NUMBER 3 FILED BY PEDRO J. BRULL

         THIS CASE came on for consideration upon the Debtors’ Objection to Claim Number 3

filed by Pedro J. Brull (Document No. 22). The Court, having reviewed the objection, together

with the record, and being fully informed in the premises, finds that as the Creditor failed to file
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a response to the Objection within the time frame permitted; that the objection has merit and

should be sustained. Accordingly, it is hereby



       ORDERED AND ADJUDGED AS FOLLOWS:

       1.     That the Debtors’ Objection to Claim Number 3 is sustained and that Claim

              Number 3 shall be allowed as a secured claim in the principal amount of

              $159,907.88, of which $5,453.12 is the secured mortgage arrearage.


       Alejandro Rivera, Esquire, Attorney for Debtor, is directed to serve a copy of this
       order on interested parties and file a proof of service within 3 days of entry of the
       order
